
246 P.3d 550 (2011)
STATE of Washington, Respondent,
v.
James Artis CASON, Petitioner.
No. 85148-4.
Supreme Court of Washington.
January 5, 2011.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Alexander, Chambers, Fairhurst and Stephens, considered at its January 4, 2011, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 The Petitioner's Motion to Defer Consideration of Petition for Review is granted and therefore this matter is stayed pending a final decision by the U.S. Supreme Court in Michigan v. Bryant, U.S. Supreme Court No. 09-150.
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
